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     VALLEY UNIFIED SCHOOL DISTRICT
 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
10   THOMAS SEABURY, an individual,                        Case No. 3:20-cv-04928-EMC (AGT)
11                   Plaintiff,
                                                           STIPULATION AND [PROPOSED]
12   vs.                                                   ORDER REGARDING
                                                           CONTINUANCE OF THE
13   SAN RAMON VALLEY UNIFIED SCHOOL                       SETTLEMENT CONFERENCE
     DISTRICT, Superintendent RICK SCHMIT in his           DEADLINE
14   official capacity, MELANIE JONES in her
     official and individual capacity, JASON               Hon. Judge Edward M. Chen
15   KROLIKOWSKI in his official and individual
     capacity, JON CAMPOPIANO in his official and
16   individual capacity, and DOES 1 through 15,
     inclusive,
17
                     Defendants.
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20            PLAINTIFF THOMAS SEABURY and DEFENDANTS MELANIE JONES, JASON
21   KROLIKOWSKI and JON CAMPOPIANO (collectively, “Defendants”) by and through their
22   counsel of record, hereby stipulate as follows:
23         1. Counsel for the parties are working cooperatively together to exchange information and
24   documents necessary to engage in meaningful settlement negotiations at the upcoming Settlement
25   Conference with Magistrate Judge Alex G. Tse. Counsel for the parties are also endeavoring to
26   schedule and complete the agreed upon depositions on mutually agreeable dates and times.
27   However, due to several scheduling conflicts, party and counsel unavailability, and defense’s
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                                                       1
       STIPULATION AND [PROPOSED] ORDER                        3:20-cv-04928-EMC (AGT)
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 1   counsel’s illness, the necessary deposition discovery and exchange of documents has not yet been

 2   completed.

 3         2. To allow for additional and sufficient time for the parties to complete the necessary

 4   deposition discovery and exchange of information and documents such that meaningful and fruitful

 5   settlement negotiations can be had, the parties respectfully request a continuance of the current

 6   settlement conference deadline.

 7         3. The current ADR deadline is February 23, 2022.

 8         4. The parties respectfully request a three-month continuance of the ADR deadline to May 31,

 9   2022.
10         5. Currently, the Settlement Conference is scheduled for February 2, 2022 at 10:00 a.m. before

11   Magistrate Judge Alex G. Tse. The parties have notified Judge Tse of the parties’ request for a

12   continuance of the settlement conference deadline, and have proposed a date of May 4, 2022 for the

13   Settlement Conference. Mr. Stephen Ybarra, Courtroom Deputy to Judge Tse, has advised that

14   Judge Tse will set aside May 4, 2022 should the Court approve the proposed continuance of the

15   settlement conference deadline.

16         IT IS SO STIPULATED.

17   DATED: January 14, 2022                       BIGGS LAW OFFICE A.P.C.

18
                                                   ______/s/_Michael S. Biggs_______________
19                                                 Michael S. Biggs, Esq
20                                                 Attorney for plaintiff THOMAS SEABURY

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22   DATED: January 14, 2022                       EDRINGTON, SCHIRMER & MURPHY LLP

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24                                                        /s/ Cody Lee Saal
                                                   Cody Lee Saal, Esq.
25                                                 Attorney for Defendants MELANIE JONES,
                                                   JASON KROLIKOWSKI and JON
26                                                 CAMPOPIANO
27   ///
28   ///
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 1                                           ATTESTATION

 2          I hereby attest that I have obtained the consent of the other signatory to the filing of this

 3   document.

 4                                                       /s/ Cody Lee Saal
                                                  Cody Lee Saal, Esq.
 5                                                Attorney for Defendants MELANIE JONES,
                                                  JASON KROLIKOWSKI and JON
 6                                                CAMPOPIANO
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 9                                        [PROPOSED] ORDER
10          Pursuant to the Stipulation of the parties and good cause appearing, it is hereby ordered as

11   follows:

12      1. The ADR/Settlement Conference Deadline is hereby continued to May 31, 2022.

13          IT IS SO ORDERED.

14   DATED: January 18, 2022

15                                                _____________________________________
                                                  HON. EDWARD M. CHEN
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       STIPULATION AND [PROPOSED] ORDER                          3:20-cv-04928-EMC (AGT)
